131 F.3d 760
    48 Fed. R. Evid. Serv. 505
    UNITED STATES of America, Appellee,v.Marcus P. McCOY, Appellant.
    No. 97-2883EM.
    United States Court of Appeals,Eighth Circuit.
    Submitted Dec. 9, 1997.Decided Dec. 17, 1997.
    
      Brian Witherspoon, St. Louis, MO, for appellant.
      Donald G. Wilkerson, Asst. U.S. Atty, St. Louis, MO, for appellee.
      Before FAGG, BEAM and MORRIS SHEPPARD ARNOLD, Circuit Judges.
      PER CURIAM.
    
    
      1
      Marcus P. McCoy appeals his conviction for possession of a firearm by a felon.  Relying on Rule 403 of the Federal Rules of Evidence, McCoy contends the district court improperly allowed the Government to ask a defense witness whose credibility was crucial to the resolution of the case if the witness and McCoy were affiliated with the same street gang.  Contrary to McCoy's view, evidence of common gang membership was admissible to show bias on the witness's part towards McCoy and the evidence was not unfairly prejudicial under Rule 403.  See United States v. Abel, 469 U.S. 45, 49, 52-55, 105 S.Ct. 465, 467, 468-70, 83 L.Ed.2d 450 (1984);  see also O'Neal v. Delo, 44 F.3d 655, 661 (8th Cir.1995).  Thus, the district court did not abuse its discretion in permitting the Government's limited inquiry about a shared membership in a street gang.  We affirm McCoy's conviction.  See 8th Cir.  R. 47B.
    
    